Fill in this information to identify your case: : oe

Debtor 4 Kenneth E Graham

 

 

 

First Name Middle Name - a Ht. OF
ani TMNEl PB ba 3
Debtor 2 ik ti BEC £0 havi} v
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Northern District of Indiana Os oo
Case number _19-12711-reg Chiéck if this is: |;

 

(If known)

 

Wi An amended filing

ClA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 WMT DDT YYW
Schedule I: Your Income 42145

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

 

 

 

1. Fill in your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,

attach a separate page wi Employment status wi Employed Q Employed

employers. C) Not employed C) Not employed

Include part-time, seasonal, or

self-employed work. Occupation Quality Supervisor

 

Occupation may include student
or homemaker, if it applies.

Employer's name Advanced Assemby

Employer's address 2101 South 600 East

Number Street Number Street

 

 

Columbia City IN 46725
City State ZIP Code City State ZIP Code

How long employed there? 3 Months 3 Months

ere sive Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or.
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 5,000.00 $

3. Estimate and list monthly overtime pay. 3. +g 700.00 +

 

4. Calculate gross income. Add line 2 + line 3. 4. | $9,700.00 $

 

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
Debtor 4 Kenneth E Graham Case number (if known) 15-12711-reg

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Were... eccccccescsecsscsesceeeseeceeecucesecavecsecnesenseavesseessuessesssceseeeareeseesseese 24 § $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 740.00 $
5b. Mandatory contributions for retirement plans 5b.  $ 110.00 $
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $.
5d. Required repayments of retirement fund loans Sd. §$ 0.00 $
5e. Insurance Se. §$ 82.00 $
5f. Domestic support obligations 5. $ 0.00 $
5g. Union dues 5g. g___——-0.00_ $.
5h. Other deductions. Specify: 5h. +5 0.00 +3
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 § 932.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3,836.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ 0.00 $

monthly net income. 8a. eT
8b. Interest and dividends 8b. § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $

settlement, and property settlement. 8c. a
8d. Unemployment compensation 8d. g___—-0.00 $
8e. Social Security 8e.  § 0.00 $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: sf. $0.00. $
8g. Pension or retirement income 8g. § 0.00 $
8h. Other monthly income. Specify: 8h. + 0.00 +

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. | $ 0.00 $
10. Calculate monthly income. Add line 7 + line 9. $ 3,836.00 | $ = \s
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. ———_—_—__——

 

 

 

 

 

11, State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 14+ $ 0.00

 

42. Add the amount in the last column of line 10 to the amount in line 11. The resuit is the combined monthly income. 3 836.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. Ss vee
Combined

monthly income
13.Do you expect an increase or decrease within the year after you file this form?

QC) No.
(A Yes. Explain: [Overtime is projected to increase as we follow General Motors overtime schedule

 

 

 

 

 

 

Official Form 106! Schedule |: Your income page 2
Fill in this information to identify your case:

 

Debtor 1 Kenneth E Graham a
First Name Middle Name Last Name Check if this IS:

 

Debtor 2 Yi An amended filing

(Spouse, if filing) First Name Middie Name Last Name
QA supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: Northern District of Indiana

Case number 1959-12711 reg

(If known) MM / DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ee Describe Your Household

1. Is this a joint case?

 

 

wi No. Go to line 2.
(J Yes. Does Debtor 2 live ina separate household?

() No
QC) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? W No .
Dependent’s relationship to Dependent’s — Does dependent live
Do not list Debtor 1 and C) Yes. Fill out this information for Debtor 1 or Debtor 2 age | with you?
Debtor 2. each dependent... cece O
Do not state the dependents’ Q No
names. Yes
QO) No
Q] Yes
L) No
QO Yes
Q) No
OC) Yes
No
C] Yes
3. Do your expenses include w No

expenses of people other than Q
___ yourself and your dependents? Yes

FARE Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.
Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and §

any rent for the ground or lot. 4.

If not included in line 4:

4a. Real estate taxes 4a §.

4b. Property, homeowner's, or renter’s insurance 4b. $.

4c. Home maintenance, repair, and upkeep expenses 4c. $

4d. Homeowner's association or condominium dues 4d. $

Official Form 106J Schedule J: Your Expenses page 1
Debtor 4 Kenneth E Graham

10.
11,

12.

13.
214,

15.

16.

17.

18.
49.

20.

Official Form 106J

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Case number (if known) 15-12711 reg

6a.
6b.
6c.
6d.

10.

11.

12.

13.
14.

18a.
15b.
15c.

15d.

16.

17a.
17b.
17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your income (Official Form 106).

Other payments you make to support others who do not live with you.
Specify:

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property
20b. Real estate taxes
20c. Property, homeowner's, or renter’s insurance

20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues /

 

Schedule J: Your Expenses

20a.
20b.
20c.

20d.

PAA AH

208.

Your expenses

§,

fA Ff Ff Ff Ff Ff ff

AA fF fH

AFA Ff HF

 

150.00
60.00
32.00

200.00

0.00
150.00
20.00
50.00

300.00
50.00

0.00
0.00

55.00
0.00

0.00

349.99
0.00
0.00
0.00

0.00

0.00

0.00

0.00
0.00
50.00

0.00

page 2
Debtor 1 Kenneth E Graham Case number (it nown) 15-12711 reg

 

 

 

 

First Name Middle Name Last Name
21. Other. Specify: 21. +3 0.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | § 1,461.04
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | § 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. | ¢ 1,461.04

 

 

 

23. Calculate your monthly net income.

 

$ 3,836.00
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. —-_-+-—__——_-- >
23b. Copy your monthly expenses from line 22c above. 23b. —§ 1,461.04
23c. Subtract your monthly expenses from your monthly income. $ 2,374.96

The result is your monthly net income. 23c. a

 

 

 

‘24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

CQ) No.
0d Yes. Explain here: | am paying approximately $2100 to the Ch. 13 Trustee for plan payments. This amount
includes $1150 in arrearage payments. The arrearage payments will end in March. | will then
begin making a monthly payment of approximately $850 to the Trustee monthly for the plan
payment. As my budget allows, | may choose to make additional plan payments monthly to the
trustee.

 

 

 

Official Form 106J Schedule J: Your Expenses page 3

 
Fill in this information to identify your case:

Debtor 1 KRuueth Ee. C tala YN

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: # District of

Case number
(If known)

 

() Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42115

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

(2 No

Q Yes. Name of person. . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 419).

Under penalty of perjury, I declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x

Signature of Debtor 2

 

Date,
MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
